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 1   Sunita Bali, Bar No. 274108
     SBali@perkinscoie.com
 2   Elliott Joh, Bar No. 264927
     EJoh@perkinscoie.com
 3   Torryn Rodgers, Bar No. 319126
     TRodgers@perkinscoie.com
 4   PERKINS COIE LLP
     505 Howard Street, Suite 1000
 5   San Francisco, California 94105
     Telephone: +1.415.344.7000
 6   Facsimile: +1.415.344.7050
 7
     Attorneys for Defendant
 8   GOOGLE LLC
 9                               UNITED STATES DISTRICT COURT
10                              NORTHERN DISTRICT OF CALIFORNIA
11

12   NEERAJ CHAUHAN,                                  Case No. 4:23-cv-00702-KAW

13                 Plaintiff,                         DEFENDANT GOOGLE LLC’S
                                                      DISCLOSURE STATEMENT AND
14          v.                                        CERTIFICATE OF INTERESTED
                                                      ENTITIES OR PERSONS
15   GOOGLE LLC,
                                                      Complaint Filed:        January 16, 2023
16                 Defendant.                         FAC Filed:              March 7, 2023
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                         DEFENDANT’S CERTIFICATION OF INTERESTED ENTITIES | CASE NO. 4:23-CV-00702-KAW
       Case 4:23-cv-00702-KAW Document 31 Filed 05/30/23 Page 2 of 2



 1           Pursuant to Federal Rule of Civil Procedure 7.1, Defendant Google LLC discloses the
 2   following:
 3           1. Google LLC is a subsidiary of XXVI Holdings Inc., which is a subsidiary of Alphabet
                Inc., a publicly traded company; no publicly traded company holds more than 10% of
 4              Alphabet Inc.’s stock.
 5           Pursuant to Civil L.R. 3-15, the undersigned certifies that the following listed persons,
 6   associations of persons, firms, partnerships, corporations (including parent corporations) or other
 7   entities (i) have a financial interest in the subject matter in controversy or in a party to the
 8   proceeding, or (ii) have a non-financial interest in that subject matter or in a party that could be
 9   substantially affected by the outcome of this proceeding:
10           1.      Google LLC
11           2.      XXVI Holdings Inc., Holding Company of Google LLC
12           3.      Alphabet Inc., Holding Company of XXVI Holdings Inc.
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     Dated: May 30, 2023                                 PERKINS COIE LLP
14

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                                                        B y:/s/Elliott Joh
16                                                         Sunita Bali
                                                           Elliott Joh
17                                                         Torryn Rodgers
18                                                       Attorneys for Defendant
                                                         GOOGLE LLC
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                           DEFENDANT’S CERTIFICATION OF INTERESTED ENTITIES | CASE NO. 4:23-CV-00702-KAW
